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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11   RAFAEL ARROYO,                          ) Case No.: 8:21-cv-00204-JDE
                                             )
12                                           )
                    Plaintiff,                   ORDER TO SHOW CASE WHY
13                                           )   STAY SHOULD NOT BE
           v.                                )   LIFTED
14                                           )
     DISNEY WAY HOTEL                        )
15                                           ) Action Removed: Jan. 29, 2021
     PARTNERS, LLC, a Delaware               )
16   Limited Liability Company               )
17                                           )
                    Defendants.              )
18
           On April 14, 2021, pursuant to the Parties’ Stipulation, the Court
19
     ordered as follows:
20
21      1. All dates, deadlines, and further activity in this case are stayed for

22         the earlier of 6 months from the date of this Order or upon the

23         issuance of decisions by the Ninth Circuit in each of Love v.

24         Marriott Hotel Services, Inc., No. 21-154, Arroyo v. JWMFE Anaheim,
25         LLC, No. 21-55237, and Garcia v. Gateway Hotel L.P., No 21-55227
26         (collectively, “Appeals”).
27      2. The Parties are ordered to file a Joint Status Report within 14 days
28         after the disposition by the Circuit of the last of the Appeals or
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 1         within 6 months from the date of this Order, whichever occurs
 2         first. The Joint Status Report shall inform the Court how the
 3         parties intend to proceed with this case in light of the rulings or
 4
           absence of rulings in the Appeals.
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 6   Dkt. 22 (“Stay Order”) at 1-2. More than six months have passed since the
 7   Stay Order and no Joint Status Report has been filed in violation of the Stay
 8   Order.
 9         As a result, the parties are ordered to show cause, in writing, within 7
10   days, why the Stay should not be immediately lifted and deadlines reset.
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     Dated: October 28, 2021 ___                  ______________________________
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                                                  JOHN D. EARLY
14                                                United States Magistrate Judge
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